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 4
 5                      IN THE UNITED STATES DISTRICT COURT
 6                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     UNITED STATES OF AMERICA,               )
 8                                           )    2:06-cr-00403-GEB
                      Plaintiff,             )
 9                                           )
                v.                           )    ORDER
10                                           )
     DAMIAN SUAREZ, et al.,                  )
11                                           )
                   Defendants.               )
12   ________________________________        )
13
14              On April 27, 2011, I stayed an order filed April 26, 2011, in

15   which I approved eighty percent of the $52,743.79 attorney C. Emmett

16   Mahle requested as attorney’s fees under the Criminal Justice Act

17   (“CJA”).   I stayed the order because I decided to evaluate whether the

18   time Mr. Mahle avers he spent on tasks is comparable to the time it took

19   other CJA attorneys to do tasks in this multi-defendant drug conspiracy

20   case. For the reasons stated below, the stay is lifted, but the April

21   26, 2011 Order is supplemented and amended as follows.

22              “[T]he purpose of the [CJA] is not to compensate counsel with

23   fees rivaling those available to attorneys representing nonindigent

24   clients.” In re Smith, 586 F.3d 1169, 1175 (9th Cir. 2009)(citation

25   omitted). “Instead, Congress enacted the CJA to both assure adequate

26   representation    in   the    Federal   courts   of   accused    persons   with

27   insufficient means, and afford reasonable compensation to counsel who

28   are assigned. The question thus becomes not what hours were actually


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 1   expended, but what hours were reasonably expended completing work
 2   necessary for adequate representation.” Id. (interal quotation marks and
 3   citations omitted).
 4             Courts cannot simply rubber-stamp every CJA voucher
               that crosses their paths. Every time an attorney
 5             submits such a voucher, that attorney is asking the
               U.S. Treasury to dole out a portion of its limited
 6             resources. It is the role of the Court to
               scrutinize these requests to properly safeguard
 7             precious taxpayer funds, or else there is little to
               prevent taxpayer money from being wasted on
 8             unreasonable or unnecessary activities by court
               appointed defense counsel.
 9
10   U.S. v. Mosley, --- F. Supp. 2d ----, 2011 WL 1591491, at *1 (D.N.J.
11   2011)(citations omitted).
12             In a prior communication to Mr. Mahle about his CJA vouchers,
13   I proposed a fifty percent reduction of the fee he requested and
14   provided Mr. Mahle the opportunity to address the proposed reduction
15   on-the-record, orally and/or in writing, no later than April 15, 2011.
16   Mr. Mahle did not respond.
17             As explained in the prior communication, Mr. Mahle represented
18   he completed numerous tasks in an amount of time that is at least twice
19   as long as could arguably be considered reasonable for performing those
20   tasks (it is unclear if some of the tasks should have been included in
21   the fee request at all). Therefore, it can be reasonably inferred that
22   Mr. Mahle has inflated all of his billings. See In re Smith, 586 F.3d at
23   1174 (indicating a presiding judge has authority to make percentage
24   reductions to CJA fee awards when supported by articulated reasoning);
25   Peguero-Moronta v. Gabriel-Santiago, No. 01-1390 (JAF), 2010 WL 1444863,
26   at *2 (D.P.R. Apr. 8, 2010)(stating percentage reduction of fee instead
27   of individual time entry reductions is appropriate in cases with “an
28   evident practice of over-billing across the board”). It is clear from


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 1   review of the fee request applications, that Mr. Mahle has disregarded
 2   “the spirit of public service involved in [a CJA] appointment . . . by
 3   increasing the expenditure of hours simply to” increase the fee he
 4   receives. U.S. v. Cook, 628 F. Supp. 38, 41 (1985).
 5                Further, comparison of Mr. Mahle’s billings with the CJA
 6   vouchers of all other counsel in this case reveals Mr. Mahle billed an
 7   amount “grossly out of line” with all of the other CJA counsel appointed
 8   in this case. Mosley, 2011 WL 1591491, at *4, 7 (comparing attorney’s
 9   request for reimbursement under the CJA to other CJA requests in similar
10   criminal cases to reduce fee request).              Specifically, counsel for co-
11   defendant Damien Suarez requested compensation totaling $17,630.50;
12   counsel for Jorge Medina requested $6,215.40; counsel for Rene Rodriguez
13   requested $17,068.00; and counsel for Francis Rosa Ramirez requested
14   $17,148.70. Even the representation of co-defendant Roque Lozano, which
15   involved two CJA attorneys and therefore some duplication of efforts,
16   resulted in requests for reimbursement totaling $28,627.90 (the first
17   CJA attorney was replaced by retained counsel, who was subsequently
18   replaced by a second CJA attorney). With the exception of counsel for
19   Jorge Medina, all other CJA counsel in this case represented their
20   respective clients for an amount of time comparable to Mr. Mahle’s
21   representation of his client.
22                For   the   stated   reasons,    Mr.    Mahle's   total   compensation
23   requested is reduced by fifty percent.
24   Dated:     May 11, 2011
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26                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
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